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            IN THE UNITED STATES DISTRICT COURT
               EASTERN DISTRICT OF ARKANSAS
                    BATESVILLE DIVISION

SHINDID A. BRADDOCK
ADC #707527                                                  PLAINTIFF

v.                      No. l:19-cv-84-DPM-PSH

ANDREW BANKS,
Sergeant, McPherson Unit                                   DEFENDANT

                                 ORDER
     The Court adopts Magistrate Judge Harris's unopposed partial
recommendation, Doc. 36.       FED.   R. Crv. P. 72(b) (1983 addition to
advisory committee notes). Motion for summary judgment, Doc. 28,
denied.
     So Ordered.


                                  D .P. Marshall Jr.
                                  United States District Judge
